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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

ABAB, INC., et al.,                             )
                                                )
                      Plaintiffs,               )
                                                )
vs.                                             )   Case No. CIV-20-0134-HE
                                                )
CITY OF MIDWEST CITY, et al.,                   )
                                                )
                      Defendants.               )

                                      JUDGMENT

      On September 1, 2020, this Court entered an Order dismissing Plaintiffs’ federal

“official capacity” claims against Defendants Heather Poole (“Poole”), Christine

Brakefield (“Brakefield”), Derek Colquitt (“Colquitt”) and Duane Helmberger

(“Helmberger”). See Doc. No. 23. In the same Order, this Court also dismissed Plaintiffs’

state law claims against Defendants Brakefield, Colquitt and Helmberger. Id.

      On March 25, 2021, this Court entered another Order wherein it ruled that: (1)

Defendant Colquitt was sued only in his official capacity and was previously dismissed;

(2) Defendant Brakefield was entitled to summary judgment as to Plaintiffs’ procedural

due process claims, substantive due process claims and the takings claim; (3) Defendant

Poole was entitled to summary judgment as to Plaintiffs’ procedural due process claims,

substantive due process claims, state law tort claims and the takings claim; (4) Defendant

Helmberger was entitled to summary judgment as to Plaintiffs’ procedural due process

claims, substantive due process claims, equal protection claim and the takings claim; and
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(5) Defendant City of Midwest City (“Midwest City”) was entitled to summary judgment

as to Plaintiffs’ substantive due process claims. See Doc. No. 73.

       After this Court’s rulings set forth above, the claims which remained for

adjudication on the merits before a duly empaneled jury were: (1) Equal protection against

Christine Brakefield; (2) Equal protection against Heather Poole; and (3) Equal protection,

procedural due process and takings against Midwest City.

       On October 25, 2021, this case came on for jury trial before United States District

Judge Joe Heaton on the remaining claims. At the close of Plaintiffs’ case in chief,

Defendants moved for judgment as a matter of law under Federal Rule of Civil Procedure

50 as to all pending claims. After hearing argument of counsel and having considered all

the evidence presented by Plaintiffs in the light most favorable to Plaintiffs, this Court

granted judgment as a matter of law to Defendants Christine Brakefield, Heather Poole and

the City of Midwest City as to Plaintiffs’ equal protection claims.

       IT IS THEREFORE ORDERED AND ADJUDGED that Judgment be, and

hereby is, entered:

       (a) In favor of Defendant Heather Poole and against Plaintiffs ABAB, Inc. and

Ahmad Bahreini on all of Plaintiffs’ claims, including any claims for punitive damages;

       (b) In favor of Defendant Christine Brakefield and against Plaintiffs ABAB, Inc.

and Ahmad Bahreini on all of Plaintiffs’ claims, including any claims for punitive

damages;

       (c) In favor of Defendant Derek Colquitt and against Plaintiffs ABAB, Inc. and

Ahmad Bahreini on all of Plaintiffs’ claims, including any claims for punitive damages;
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       (d) In favor of Defendant Duane Helmberger and against Plaintiffs ABAB, Inc. and

Ahmad Bahreini on all of Plaintiffs’ claims, including any claims for punitive damages;

and

       (e) In favor of the City of Midwest City and against Plaintiffs ABAB, Inc. and

Ahmad Bahreini on all of Plaintiffs’ claims, excluding the procedural due process claims

and the takings claim, which will be dismissed with prejudice via the filing of a joint

stipulation.

       IT IS SO ORDERED.

       Dated this 1st day of November, 2021.
